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                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF NEW YORK

STATE OF NEW YORK and THE BOARD OF
EDUCATION FOR THE CITY SCHOOL
DISTRICT OF THE CITY OF NEW YORK,
                                  Plaintiffs,

v.

UNITED STATES DEPARTMENT OF
EDUCATION and ELISABETH DEVOS, in
her official capacity as the Secretary of       Civil Action No. 1:20-cv-4260-JGK
Education,
                                Defendants,

FOUNDATION FOR INDIVIDUAL RIGHTS
IN EDUCATION

            [Proposed] Intervenor-Defendant.


           FOUNDATION FOR INDIVIDUAL RIGHTS IN EDUCATION’S
              REPLY IN SUPPORT OF MOTION TO INTERVENE
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        It is understandable that Plaintiffs would prefer not to respond to the merits of FIRE’s

constitutional arguments. But FIRE’s perspective is crucial because it affects the answer to every

key question before the Court. If the Final Rule’s free speech and due process protections are

constitutionally required, then Plaintiffs lack standing to challenge them, Plaintiffs’ APA

challenges lack merit at Chevron Steps One and Two, and the equities tip decidedly against a

preliminary injunction. Plaintiffs disagree with FIRE’s constitutional arguments, as their

opposition makes clear. But that is a debate to be had on the merits—not a reason to bar FIRE

from intervening in the first place.

        FIRE is entitled to intervene in this case under Rule 24(a). Plaintiffs do not dispute that

FIRE’s intervention motion is timely and that FIRE has an interest in this action, and Plaintiffs’

arguments with respect to the other requirements for intervention as of right are unpersuasive.

FIRE should also be permitted to permissively intervene. FIRE brings a wealth of expertise on the

issues in this case, offers a constitutional perspective that the existing parties will not, and will be

the only voice for the college students who will lose vital protections if the Final Rule is vacated.

                                            ARGUMENT

I.      FIRE’s constitutional arguments are directly relevant to issues already before the
        Court.

        Plaintiffs accuse FIRE of improperly seeking to inject new claims into the case, but in fact

FIRE seeks only to introduce arguments that no one else will make on issues that are already before

the Court. Although Plaintiffs elide this distinction, it is critical to the resolution of FIRE’s motion;

those with a concrete interest in a case who seek to make new arguments on issues the Court must

decide are the archetypal third parties who are allowed to intervene under Rule 24. See New York

v. United States Dep’t of Health & Human Servs., 2019 WL 3531960, at *7 (S.D.N.Y. Aug. 2,

2019); Me-Wuk Indian Community v. Kempthorne, 246 F.R.D. 315, 321 (D.D.C. 2007).

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       The Court should not blind itself to FIRE’s constitutional arguments, which speak directly

to issues Plaintiffs have already put before the Court. Consider, for example, the implications of

FIRE’s arguments for Plaintiffs’ preliminary injunction motion.

       Standing. Plaintiffs do not have standing to complain that the Final Rule forces them to

do things that the Constitution requires them to do anyway. Thus, if FIRE is correct that the Final

Rule’s definition of sexual harassment and many of its procedural protections simply enforce the

requirements of the First Amendment and the Due Process Clause, Plaintiffs do not have standing

to challenge these key aspects of the Final Rule.

       A long line of cases shows that, if FIRE’s constitutional claims have merit, then many of

Plaintiffs’ claims must be dismissed for lack of redressability. In Black v. LaHood, 882 F. Supp.

2d 98, 106 (D.D.C. 2012), for example, the court dismissed a challenge to a federal trail project

that permanently closed a road to automobile traffic. The plaintiffs’ injuries from the federal

project were not redressable, the Court explained, because a separate D.C. Council ordinance also

prohibited drivers from using the road. Id. Many other cases reach the same result. See, e.g., White

v. United States, 601 F.3d 545, 552 (6th Cir. 2010) (economic injuries caused by federal

prohibition on cockfighting not redressable because cockfighting is also illegal under state law);

Fla. Family Policy Council v. Freeman, 561 F.3d 1246, 1256–58 (11th Cir. 2009) (injuries caused

by canon of judicial conduct requiring disqualification were not redressable because unchallenged

state statute also required disqualification); Covenant Media of S.C., LLC v. City of N. Charleston,

493 F.3d 421, 430 (4th Cir. 2007) (billboard company lacked redressable injury from local

ordinance challenged under the First Amendment because it could not place sign at desired

location under separate, unchallenged ordinance).




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       If this Court allows FIRE to intervene, it will argue that the First Amendment and the Due

Process Clause place significant constraints on whether and how Plaintiffs may lawfully punish

speech on college campuses. An order from this Court vacating the Final Rule would not relieve

Plaintiffs from those constitutional obligations, which all public colleges and universities must

follow. It follows that many of Plaintiffs’ alleged injuries are not redressable.

       Likelihood of Success on the Merits. One of the centerpieces of Plaintiffs’ lawsuit is their

claim that key aspects of the Final Rule are inconsistent with Title IX and therefore “contrary to

law” under the APA. See Am. Compl., Doc. 13, ¶¶ 290–305 (June 18, 2020). To assess this claim,

the Court will apply Chevron’s two-step framework. At Step One, the Court will “consider de novo

whether Congress has clearly spoken to the question at issue.” Mizrahi v. Gonzales, 492 F.3d 156,

158 (2d Cir. 2007). In undertaking this inquiry, the Court will not be limited to the statutory

interpretation arguments offered by the agency in its Final Rule but instead must deploy “the

ordinary tools of statutory construction,” City of Arlington v. FCC, 569 U.S. 290, 296 (2013),

including the canon of constitutional avoidance. If FIRE is correct that Plaintiffs’ proposed

construction of Title IX would cause this important statute to run afoul of the First Amendment

and the Due Process Clause, that is a powerful reason for this Court to conclude that Title IX does

not unambiguously mean what Plaintiffs say. See, e.g., Solid Waste Agency of N. Cook Cty. v. U.S.

Army Corps of Eng’rs, 531 U.S. 159, 172–72 (2001) (applying constitutional avoidance canon at

Chevron Step One); Edward J. DeBartolo Corp. v. Florida Gulf Coast Bldg. & Const. Trades

Council, 485 U.S. 568, 574–75 (1988) (same). FIRE’s constitutional arguments will also provide

important context for assessing the reasonableness of the Department’s interpretation of the statute

at Chevron Step Two. Although the Department did not embrace FIRE’s constitutional arguments,




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it gave weight to free speech and due process considerations when promulgating the Final Rule—

and it was right to do so if FIRE’s constitutional arguments have merit.

       Irreparable Injury. For much the same reason that FIRE’s constitutional arguments show

that Plaintiffs’ injuries are not redressable, they also establish that Plaintiffs will not sustain any

irreparable injury if the Final Rule goes into effect as scheduled on August 14. As a matter of law,

Plaintiffs cannot sustain an irreparable injury from being required to comply with provisions of a

federal regulation that do no more than require them to comply with the Constitution. Although

courts often speak of whether a plaintiff who seeks a preliminary injunction will sustain irreparable

injury “without” injunctive relief, it is “more accurate to phrase the question . . . as whether the

plaintiff will suffer irreparable harm ‘but for’ the issuance of an injunction.” Sierra Club v. U.S.

Dep’t of Energy, 825 F. Supp. 2d 142, 153 (D.D.C. 2011) (citing Brenntag Int’l Chems., Inc. v.

Bank of India, 175 F.3d 245, 249 (2d Cir. 1999)). The inquiry is “whether the plaintiff has shown

that the relief sought will actually prevent irreparable harm,” id., and Plaintiffs would not avoid

any irreparable injury by being relieved of obligations under the Final Rule that overlap with their

obligations under the Constitution.

       Balance of Hardships and the Public Interest. Whether and when the Final Rule goes

into effect is enormously important to the students whose constitutional rights the rule protects.

The public interest favors the protection of constitutional rights. Mitchell v. Cuomo, 748 F.2d 804,

808 (2d Cir. 1984). If the Court is persuaded by FIRE’s constitutional arguments, it will have a

strong reason to deny a preliminary injunction. For this reason as well, FIRE’s constitutional

arguments are directly relevant to the issues already before the Court. They ought to be heard.

II.    FIRE is entitled to intervene as of right under Rule 24(a).

       Rule 24(a) specifies four requirements for intervention as of right, and Plaintiffs do not

contest that FIRE satisfies two of them: timeliness and an interest in the action. See FED. R. CIV.
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P. 24(a). Plaintiffs’ silence as to those two factors is significant because, as FIRE’s opening brief

explained and Plaintiffs do not dispute, the Second Circuit applies a sliding scale when deciding

whether Rule 24(a)’s requirements are satisfied, with a stronger showing as to some of the

requirements making up for a weaker showing as to others. See Br. in Support of Mot. to Intervene,

Doc. 25 at 5 (June 29, 2020) (“Intervention Br.”).

       “A showing that a very strong interest exists may warrant intervention upon a lesser

showing of impairment or inadequacy of representation,” United States v. Hooker Chem. &

Plastics Corp., 749 F.2d 968, 983 (2d Cir. 1984), and FIRE has made such a showing here.

Specifically, if Plaintiffs are granted the nationwide injunction they seek, this will force FIRE to

expend substantial resources providing services to university students who are accused of sexual

misconduct under speech codes that provide meager procedural protections and use vague and

subjective definitions of “sexual harassment.” In addition to FIRE’s own interest in those

resources, it also seeks to intervene on behalf of its members—one of whom is subject to an

investigation for alleged sexual misconduct at a public university right now. See Intervention Br.

5. That student has an acute interest in whether he will be afforded the additional procedural

protections that the Final Rule guarantees, and all of FIRE’s Student Network members have a

strong interest in seeing that their free speech and due process rights are protected. Plaintiffs do

not and cannot dispute that FIRE and its members have an extremely significant interest in the

outcome of this litigation, and that is a compelling reason to grant the motion.

       Plaintiffs contend that FIRE’s interests could not be impaired by the outcome of this case,

but in making this argument Plaintiffs confuse FIRE’s interests with the unique arguments that

FIRE proposes to advance. The fact that FIRE would assert constitutional arguments that no one

else will make is highly relevant to whether FIRE is adequately represented, but FIRE’s unique



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arguments do not define the metes and bounds of its interests in this action. FIRE’s interests will

be impaired if this Court throws out the Final Rule because enforcement of the rule would free up

substantial resources that FIRE could use to advance other aspects of its mission. Invalidation of

the Final Rule would also imperil the free speech and academic freedom of FIRE’s members while

stripping procedural protections from at least one FIRE Student Network member who currently

stands accused of sexual misconduct. FIRE’s interests in this case are not limited to seeking to

have its constitutional theories vindicated, and Plaintiffs’ argument misses the mark because it

assumes otherwise.

       Plaintiffs also contend that FIRE’s interests are adequately represented by Defendants since

FIRE and Defendants share the common goal of persuading the Court to uphold the Final Rule.

But that was also the situation in Commonwealth of Pennsylvania v. President of the United States,

888 F.3d 52 (3d Cir. 2018), and In re Sierra Club, 945 F.2d 776, 780 (4th Cir. 1991)—cases cited

in FIRE’s opening brief that Plaintiffs ignore. The rule is that a proposed intervenor is not

adequately represented by a governmental party when its interests diverge from those of the

government, even when the proposed intervenor and the government both want the court to uphold

a challenged government policy. That is precisely the situation here. Defendants are statutorily

charged with balancing competing interests. FIRE, in contrast, represents solely the free speech

and due process interest of university students and faculty. For that reason, the presumption of

adequate representation by government litigants does not apply. See Herdman v. Town of Angelica,

163 F.R.D. 180, 190 (W.D.N.Y. 1995).

       Finally, it is telling that the Department of Justice has taken no position on FIRE’s motion

to intervene as of right. When governmental defendants “take[] no position on the motion to inter-

vene,” courts typically grant intervention because the government’s “silence on any intent to



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defend the intervenors’ special interests is deafening.” Utah Ass’n of Ctys. v. Clinton, 255 F.3d

1246, 1256 (10th Cir. 2001) (cleaned up); accord Conservation Law Found. of New England, Inc.

v. Mosbacher, 966 F.2d 39, 44 (1st Cir. 1992) (same). Indeed, FIRE knows of no case denying

intervention where the movant wanted to litigate alongside the government and the government

did not object.

III.   The Court should permit FIRE to permissively intervene under Rule 24(b).

       Granting permissive intervention is the simplest way to resolve this motion. Permissive

intervention is entirely discretionary. See SEC v. Goldstone, 2013 WL 6920854, at *24 (D.N.M.

Dec. 13, 2013) (“‘The district court possesses broad discretion in determining whether to grant

permissive intervention and will rarely be reversed on appeal.’” (quoting Moore’s Federal

Practice)). When exercising its “‘very broad discretion,’” this Court can grant permissive

intervention based on “‘almost any factor rationally relevant.’” McIntire v. Mariano, 2019 WL

78982, at *7 (S.D. Fla. Jan. 2, 2019) (quoting Daggett v. Comm’n on Governmental Ethics &

Election Practices, 172 F.3d 104, 113 (1st Cir. 1999)). The only factors that Rule 24(b) requires

this Court to consider are timeliness, the presence of a common question of law or fact, and undue

delay or prejudice. See FED. R. CIV. P. 24(b).

       Those factors strongly favor intervention. Plaintiffs do not dispute timeliness. And

Plaintiffs’ attempt to argue that FIRE’s defenses do not share common questions of law with the

main action, Pls.’ Mem. of Law in Opp. to Mot. to Intervene as Def. by FIRE, Doc 31 at 7–8 (July

2, 2020) (“Opp.”), is confused. FIRE shares every question of law and fact with the main action

because, like Defendants, FIRE seeks to defend the Final Rule. While FIRE proposes to raise

additional constitutional defenses that Defendants will not, those additional defenses do not defeat

permissive intervention. Rule 24(b) requires FIRE to identify “a common question,” singular, FED.



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R. CIV. P. 24(b)(1)(B) (emphasis added)—not to raise only the same arguments as an existing

party.

         Plaintiffs’ attempts to argue prejudice, Opp. 8–10, are also unpersuasive. While Plaintiffs

worry that FIRE’s intervention will cause unnecessary distraction, vague concerns about the mere

presence of additional parties are not the kind of “undue delay or prejudice” that Rule 24(b)

forbids. This case is “in its infancy,” and the Court can resolve all oppositions to the preliminary

injunction motion “in the same opinion.” League of Women Voters of Mich. v. Johnson, 902 F.3d

572, 577–79 (6th Cir. 2018). To make things even simpler, FIRE promises to focus its briefs and

arguments on its own unique defenses and will not repeat arguments that Defendants raise

themselves but will instead incorporate those arguments by reference.

         Instead of explaining how FIRE’s party status will cause undue delay or prejudice,

Plaintiffs contend that FIRE’s arguments will harm them by potentially invalidating their speech

codes. Yet, contrary to Plaintiffs’ assertions, FIRE does not seek to “challeng[e] individual school

conduct codes prohibiting sexual harassment and similar conduct.” Opp. 9. FIRE instead seeks to

raise constitutional defenses that prove why the Final Rule should be upheld and why Plaintiffs

are not entitled to relief.

         In any event, parties suffer no “prejudice” when intervenors want “to make additional and

different legal arguments to the Court based upon evidence already admitted in a completed

record,” since the parties “will have a full opportunity, in their . . . brief, to counter any such legal

arguments.” United States v. Philip Morris USA Inc., 2005 WL 1830815, at *5 (D.D.C. July 22,

2005). As one of the Plaintiffs persuasively argued when it permissively intervened to defend the

Affordable Care Act, “full and adequate briefing on all sides of this case will not cause prejudice,”

especially where “[t]he Court will hold the Proposed Intervenor[s] to the same briefing schedule



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as the original parties.” Texas v. United States, 2018 WL 10562846, at *3 (N.D. Tex. May 16,

2018).

         After failing to show any downsides to FIRE’s intervention, Plaintiffs never even respond

to the upsides. They do not contest that FIRE’s intervention “will meaningfully assist the Court”

because FIRE is a “thought leader and repeat players in this field” with “a wealth of experience

and expertise to bear on the historical, factual, and legal questions in this case.” Intervention Br.

13. And Plaintiffs do not contest that, without FIRE’s intervention, the “important perspectives”

of “the college students who ‘directly’ benefit from the Rule’s protections for free speech and due

process” “will be missing” from this case. Id. Defendants apparently agree that the benefits of

FIRE’s intervention outweigh any costs, since they consented to permissive intervention.

                                         CONCLUSION

         For the foregoing reasons, FIRE’s motion to intervene should be granted.

 Dated: July 3, 2020                        Respectfully submitted,

                                              /s/ Charles J. Cooper

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                            CERTIFICATE OF WORD COUNT
       Pursuant to Judge Koeltl’s Individual Rules of Practice II.D, the undersigned counsel

hereby certifies that the foregoing Reply complies with the formatting requirements in Rule II.D

and the Reply, including body, headings, and footnotes, contains 2,774 words as measured by

Microsoft Word.

                                                   /s/Charles J. Cooper
                                                   Charles J. Cooper
